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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS


 IN RE: TESTOSTERONE                                  MDL No. 2545
 REPLACEMENT THERAPY
 PRODUCTS LIABILITY LITIGATION                        Master Docket Case No. 1:14-cv-
                                                      1748

 THIS DOCUMENT RELATES TO:                            Honorable Matthew F. Kennelly
 All cases

      (CORRECTED) UNOPPOSED MOTION TO ESTABLISH ENDO TRT
                  QUALIFIED SETTLEMENT FUND

        Negotiating Plaintiff Counsel (“NPC”), as counsel for certain plaintiffs in this

MDL 2545 and other claimants, hereby move the Court to enter an Order

Establishing a Qualified Settlement Fund (“QSF”) as required under the Master

Settlement Agreement “MSA,” dated June 11, 2018 between the NPC and the Endo

Defendants (defined below), and establishing ARCHER Systems, LLC (“ARCHER”)

and its successors and/or assigns as the Qualified Settlement Fund Administrator as

selected by the NPC, as authorized to do so pursuant to the terms of the MSA. In

support of this Motion, NPC state as follows:

        1.       Plaintiffs and other claimants represented by NPC and by Participating

Law Firms, as defined under the MSA, (“Claimants”), are seeking damages from

Auxilium Pharmaceuticals, LLC (f/k/a Auxilium Pharmaceuticals, Inc.), Endo

Pharmaceuticals Inc., and GlaxoSmithKline LLC, (collectively, “Endo”) for injuries

allegedly arising from their use of their testosterone-containing products.




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      2.     Endo denies any and all liability to Claimants. In an effort to resolve

these disputes, NPC and Endo entered into the MSA to resolve all claims arising out

the use of their testosterone-containing products.

      3.     An Order establishing the QSF will benefit Claimants and Endo by

assuring finality to the litigation upon fulfillment of the conditions of the MSA. NPC

have conferred with counsel for Endo, and Endo has no objection to this filing and to

entry of the proposed Order based hereon.

      4.     Endo will be paying the sum agreed upon in the MSA (“Settlement

Funds”) into the QSF in accordance with the terms of the MSA.

      5.     This Court has jurisdiction over this matter under Treas. Reg. Section

1.468B-1(c)(1), which states in relevant part that a QSF “is established pursuant to

an order of, or is approved by, the United States, any state (including the District of

Columbia), territory, possession, or political subdivision thereof, or any agency or

instrumentality (including a court of law) . . . and is subject to the continuing

jurisdiction of that governmental authority.”

      6.     By order of this Court, the QSF shall be established within the meaning

of section 468B of the Internal Revenue Code of 1986, as amended (“Code”) and

Treasury Regulation sections 1.468B-1, et seq., and remain subject to the continuing

jurisdiction of this Court.

      7.     NPC request that the Court approve the engagement of ARCHER

Systems, LLC and its successors and/or assigns as the administrator of the QSF

(“QSF Administrator)”. ARCHER possesses the requisite resources and experience




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to properly and effectively set-up and administer the QSF. ARCHER’s address is as

follows: 1775 Saint James Place, Suite 200, Houston, TX, 77056. ARCHER submits

personally to the jurisdiction of this Court. ARCHER, as the QSF Administrator, will

be authorized to make distributions from the QSF consistent with the MSA and this

Order. Should ARCHER experience dissolution or bankruptcy, its appointment as

QSF Administrator shall terminate and NPC will seek Court approval of a successor

QSF Administrator.

      8.     The Settlement Funds are the sole property of the QSF. No portion of

the Settlement Funds shall be made available to the eligible Claimants as determined

under the MSA in any fashion, except as specifically set forth in the MSA. Until such

time as monies are distributed from the QSF, the Claimants and NPC shall not

possess any rights to demand or receive any portion of the Settlement Funds or to

mortgage, pledge or encumber the same in any manner. To the extent possible, this

shall be construed so as to prevent the Claimants and NPC from being in constructive

receipt, as determined under federal income tax principles, of any amounts held by

the QSF.

      9.     The Parties request that no bond be required, provided that all

settlement proceeds, which include all principal and interest earned thereon, shall be

deposited in an account held in custody at Esquire Bank (the “Bank”), a financial

institution with headquarters in the state of New York for the benefit of, and titled

in the legal name of, the Endo TRT Qualified Settlement Fund. The Bank shall invest

monies deposited pursuant to the instructions of the QSF Administrator.         Such




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investments may be (a) with third parties in instruments/securities comprised of

United States Agency, Government Sponsored Enterprises or Treasury debt

securities or obligations (maturities not to exceed five years at a time of purchase) or

mutual funds invested solely in such instruments (average maturity not to exceed

five years); (b) with third parties in cash equivalent securities including SEC

registered money market funds and collateralized money market accounts; (c) in one

or more checking accounts at the Bank up to current FDIC insurance limits; and (d)

certificates of deposit that are fully insured by the Federal Deposit Insurance

Corporation (“FDIC”) through use of the Certificate of Deposit Account Registry

Services (“CDARS”), and/or Insured Cash Sweep (“ICS”) pursuant to the CDARS/ICS

Deposit Placement Agreement with the Bank. The Bank shall be responsible for

following the written investment instructions of the QSF Administrator. The QSF

Administrator shall be responsible for ensuring that a principal preservation

investment policy is implemented. Notwithstanding the foregoing, the Bank shall

not be allowed to distribute any income or principal from the QSF except upon written

instructions of the QSF Administrator, or, if requested, upon the order of this Court

upon the joint motion of the Parties. The QSF Administrator retains the right to

remove the Bank with or without cause, in its sole and absolute discretion. The QSF

Administrator may designate a replacement bank upon the written consent of NPC.

In the event of such replacement, the terms and conditions of this paragraph,

including without limitation, those addressing bond requirements, investments, and

distributions from the QSF, shall apply to any such replacement bank. The QSF




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Administrator shall not be liable for any losses as a result of investing the Settlement

Funds as directed by the Court. Any such losses shall not be recoverable from the

Parties, and the Parties shall have no responsibility for the QSF Administrator’s

performance.

      10.    All interest or investment income earned on the account(s) of the QSF

shall inure to the benefit of the QSF and shall be used first to pay any taxes and tax

return administration/preparation costs for the QSF, QSF Administrator to pay taxes

on gains in the QSF, tax return/accounting fees, and any other costs associated with

administration of the QSF. QSF Administrator shall direct any and all payments of

such interest or investment income and any interest accrued on the QSF account.

      11.    Within fifteen (15) days of the end of each calendar quarter, QSF

Administrator will prepare and deliver QSF Statements (“Statements”) to the NPC

and the Court (if requested). The Statements shall include a statement of receipts,

investment earnings, and disbursements.

      12.    QSF Administrator shall have the right to rely upon any affidavit,

certificate, letter, notice, electronic mail or other document believed by the QSF

Administrator to be genuine and sufficient, and upon any other evidence believed by

the QSF Administrator, in its reasonable judgment, to be genuine and sufficient,

which may be provided to the QSF Administrator by the NPC.

      13.    QSF Administrator shall be indemnified and held harmless by the NPC

or any Claimants and/or their counsel, (current and/or future, as applicable) from any

claims made by any alleged lien holder, or other person or entity that attempts to




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assert a right of payment, reimbursement or garnishment against the QSF. Should

the QSF Administrator be named as a party to, or threatened to be made a party to,

any threatened, pending or completed action, suit or proceeding of any kind, whether

civil, administrative or arbitrative, and whether brought by or against or otherwise

involving the QSF, by reason of the QSF Administrator having served in any capacity

on behalf of the QSF, the QSF Administrator shall be indemnified and held harmless

by NPC or any Settling Claimants (current and/or future, as applicable) against

reasonable expenses, costs and fees (including attorney fees), judgment, awards,

costs, amounts paid in settlement, and liabilities of all kinds incurred by the QSF

Administrator in connection with or resulting from such actual or threatened action,

suit or proceeding; except to the extent that it is finally determined by this Court that

the QSF Administrator was negligent or acted with willful misconduct in connection

with the administration of the QSF.

         14.   The QSF, by and through the QSF Administrator, may purchase and

assign any structured settlements created under any release agreements with

individual injured claimants. Any structured settlement annuity contract shall be

issued by a life insurance company that is rated A+ or better by A.M. Best Company. 1

The claims made by individuals who suffered (or will suffer) personal injury caused

by Endo’s products are (or will be) made on account of physical bodily injury and/or


1 Structured Settlement Payments are assigned to a qualified assignee by entering into
qualified assignments of such structured settlement payments within the meaning of
Section 130(c) of the Code. The qualified assignee shall, respecting each person who is to
receive periodic payments under a settlement agreement, purchase one or more qualified
funding assets within the meaning of Section 130(d) of the Code to fund any structured
settlement payments assigned to the qualified assignee.



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wrongful death and arise out of alleged liability in tort or violation of law. Such

Claimants (and their attorneys, as applicable), shall agree in writing to a discharge

of the proceeds from the QSF and the QSF Administrator’s liabilities in the making

of any structured settlement payments, also known as periodic payments, by

executing, along with the QSF Administrator, any necessary documents required or

related to the discharge of those liabilities.

        15.   Upon final distribution of all monies paid into the QSF, the QSF

Administrator shall take appropriate steps to wind down the QSF and, thereafter, be

discharged from any further responsibility with respect to the Settlement Payment.

        16.   The QSF Administrator will obtain a Federal Taxpayer Identification

Number for the QSF upon the execution of an Order by this Court establishing the

Fund.

        17.   Once all proceeds are deposited into the QSF and the dismissals are

filed, Endo shall have no further obligation to the QSF or to any Claimant. Any

alleged civil liability or actual civil liability of Endo to any Claimant arising from

personal injuries allegedly sustained as a result of use of Endo’s products is requested

to be extinguished pursuant to 26 U.S.C. § 468B(d)(2).

        WHEREFORE, NPC respectfully request that the Court consent to take

jurisdiction over the QSF pursuant to Treas. Reg. Section 1.468B-1(c)(1), and issue

an Order which:




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      1.     Establishes the Endo TRT Qualified Settlement Fund as a QSF within

the meaning of Treas. Reg. § 1.468B-1 and pursuant to the jurisdiction conferred on

this Court by Treas. Reg. § 1.468B-1(c)(1).

      2.     Appoints ARCHER as QSF Administrator pursuant to the terms,

conditions, and restrictions of this Order, and is hereby granted the authority to

conduct any, and all activities necessary to administer and ultimately wind down the

QSF as described herein and in the MSA (including, without limitation, being

authorized to make disbursements from the QSF consistent with the MSA).

      3.     Appoints Esquire Bank as the financial institution at which the QSF

Administrator will establish bank and investment accounts for the QSF in accordance

with this Order.



Dated: June 10, 2019                    Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      I hereby certify that on June 10, 2019, I electronically filed the foregoing with

the clerk of the court by using the CM/ECF system which will automatically serve

and send a notice of electronic filing to all registered attorneys of record.

                                         /s/ Brendan A. Smith
                                         Brendan A. Smith




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